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                 Global Documents needed for Halal Certification of the Establishments



- Full data about the Establishment (name – trade name – address – Code number – etc…)

- Valid Official License

- For the Raw material
         • Certificates of analysis
         • Previous Halal accreditation audit sheet )If applicable)

- For the Imported raw material
         • Letter of authorization from the company source of raw material to the Establishment

- For packaging materials
        • Specification of the packaging material
        • Certificate proving that it is suitable for packaging foodstuff

- Results of Swabs from Surfaces, Machines of Establishment
- Results of Swabs from the workers
- For the Final Products
         • Product Technical Document
         • Certificate of Analysis and Component separation analysis
         • analysis of Pork fat for products containing raw materials from an animal product (or Just a
             Statement)

- In case of butter Production:-
         • Type of Strainer (gelatin sieve)
         • Natural flavoring agents used and proving that is free from alcohol
         • Whey butter analysis and proving that the animal derived enzymes are Halal

- ISO Certificates
        • ISO 9001/2015 (Quality Management system)
        • ISO 22000 (Food Safety Management System) OR
        • BRC certificate (if applicable)

- Last Audit report from the Competent Authority in your country




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         Global Documents needed for Halal Certification of the Establishments



               List of Natural and Artificial Additives with E Numbers Like



 •   Colors
 •   Nutrients
 •   Preservatives
 •   Anti-oxidants
 •   Materials for manufacturing processes and support for other additives such as anti-caking
     agents - and immunosuppressant, Forming Foam - Texture Enhancers (which include
     Emulsifiers – Stabilizers – Thickeners)
 •   Acidity regulators
 •   Flavor enhancers
 •   Coating materials
 •   Sweeteners
 •   Bleaching agents with the international number mentioned ECC No. or Serial No.

                         (If not you can just send a statement)
